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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
                                                    271-A Cadman Plaza East
                                                    Brooklyn, New York 11201

                                                    May 20, 2024
By ECF
Honorable LaShann DeArcy Hall
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201
               Re:    United States of America v. Jonathan Goulbourne,
                      No. 22-cr-106 (LDH)

Dear Judge DeArcy Hall:

       This letter is respectfully submitted in response to the Court’s Order directing the
Government to respond to Defendant Jonathan Goulbourne’s letter dated May 19, 2024 (Dkt.
#350). The five individuals whom the Court has directed to appear at the evidentiary hearing on
May 23, 2024, are employees of the Federal Bureau of Prisons. As stated in the status report filed
on behalf of the Metropolitan Detention Center on May 17, 2024 (Dkt. #349), the Department of
Justice granted their requests for representation in this matter. The decision to authorize
representation was made in accordance with and subject to 28 C.F.R. § 50.15. See Justice Manual
§ 4-5.412 (https://www.justice.gov/jm/jm-4-5000-tort-litigation#4-5.412); see also 28 U.S.C.
§ 517.
       Thank you for Your Honor’s consideration of this submission.
                                                    Respectfully submitted,
                                                    BREON PEACE
                                                    UNITED STATES ATTORNEY
                                             By:    s/____________________
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cc:   By email
      Counsel of Record




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